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     CELINK
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14
                                  UNITED STATES DISTRICT COURT
15
                               EASTERN DISTRICT OF CALIFORNIA
16

17   COMPU-LINK CORPORATION, DBA                  Case No. 2:22-cv-00983-KJM-KJN
     CELINK, a Michigan Corporation
18                                                NOTICE OF VOLUNTARY DISMISSAL
                        Plaintiff,
19                                                Hon. Kimberly J. Mueller
          vs.
20
     PHH MORTGAGE CORPORATION, a
21   New Jersey Corporation,
22                      Defendant.
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                                  NOTICE OF VOLUNTARY DISMISSAL
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 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Compu-Link

 2   Corporation d/b/a Celink (“Celink”), by and through its counsel, hereby dismisses this action against

 3   Defendant PHH Mortgage Corporation (“PHH”) in its entirety, and all causes of action thereto, with

 4   prejudice, with each party to bear its own attorneys’ fees, costs, and expenses.

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 6    Dated: September 20, 2023                         K&L GATES LLP
 7
                                                        By: /s/ Matthew G. Ball
 8                                                          Matthew G. Ball
                                                            Amy Wong
 9                                                          Andrew J. Wu

10                                                          Attorneys for Plaintiff Compu-Link
                                                            Corporation, dba Celink
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                                    NOTICE OF VOLUNTARY DISMISSAL
